                                                                                        ___                  ___________ __________
                                                                                                                    ___________
                                                                                                               ___________      ___________
                                                                                                                           ___________      _
                                                                                                                                       __________

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                                                UNITED STATEs DISTRICT                           CouRT
                                  for the                        District of                          New Jersey

                      United States of America
                                                                                         ORDER SETTING CONDITIONS
                              TONY MACK
                                                                                                OF RELEASE

                                  Defendant                                                     Case Number:         12-2573     (DEA)

 IT IS ORDERED on this 10th day of SEPTEMBER, 2012 that the release of the defendant is subjec
                                                                                                                                  t to the following
 conditions:
         (1) The defendant must not violate any federal, state or local law while on release.
         (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized
                                                                                                            by
             42 U.S.C. §              14l35a.


        (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorne in writing
                                                                                                    y           before
             any change in address and/or telephone number.
        (4) The defendant must appear in court as required and must surrender to serve any sentence impose
                                                                                                             d.
                                                                          Release on Bond
Bail be fixed at $                 (S( tV                      and the defendant shall be released upon:
                                            I
                                                                                                         I


         (       )
                      Executing an unsecured appearance bond (th co-signor(s)
                      Executing a secured appearance bond
                                                                                                                                 k
                                                                      (   ) with co-signor(s)
                      and (   ) depositing in cash in the registry of the Court                   of the bail fixed; and/or (
                                                                                                                                       ) execute an
                      agreement to forfeit designated property located at
                      Local Criminal Rule 46. l(d)(3) waived/not waived by the Court.

         (   )        Executing an appearance bond with approved sureties, or the deposi
                                                                                                         t of cash in the full amount of the bail
                      in lieu thereof


                                                              Additional Conditions of Release
Upon finding that release by the above methods will not by themse
                                                                                        lves reasonably assure the appearance of the
defendant and the safety of other persons and the community, it
                                                                                     is further ordered that the release of the defendant is
subject to the condition(s) listed below:


IT IS FUR1 ORDERED that, in addition to the above, the
                                                                                    following conditions are imposed:
     (               Ryrt to Pretrial Services (“PTS”) as directed and advise them immediately of any contac
                                                                                                                                      t with law
                     hforcement personnel, including but not limited to, any arrest,
                                                                                                 questioning or traffic stop.
     (               The defendant shall not attempt to influence, intimidate, or injure
                                                                                                    any juror or judicial officer; not tamper
                     with any witness, victim, or informant; not retaliate agains
                                                                                            t any witness, victim or informant in this case.
     (       )       The defendant shall be released into the third party custody of_________
                                                                                                              ____________________________

                      who agrees a) to supervise the defendant in accordance with a/i the         conditions of release,     every effort
                                                                                                                           (b)   to   use
                      to assure   tile appearance   oft/ic   defendant at all scheduled court
                                                                                                        (c,) to notify the court
                                                                                              proceedings,     and

                      immediately in the event the defendant violates any conditions ofrelease or disappears.


                       Custodian Signature:                                                      Date:
                       V                                                                                                                       PAGE 1 OF 3


     fr1 The defendant’s travel is restricted to 4 New Jersey ( ) Other
                                                                                                 unless approved by Pretrial Services (PTS).
                                                                                                      ______,




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(Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with
      substance abuse testing procedures/equipment.
( )   Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any
      home in which the defendant resides shall be removed by                   and verification provided to PTS.
( )   Mental health testing/treatment as directed by PTS.
( ) Abstain from the use of alcohol,
( ) Maintain cuffent residence or a residence approved by PTS.
( ) Maintain or actively seek employment and/or commence an educti6i program.
( ) )o contact v ith minors unless in the presence of a parent or guardian ‘ ho is aware of the present
( Have no contact with the following individuals: (,J €SA&c) 4$iJ                                        Ot
( ) Defendant is to participate in one of the following home confinement program components and abide by
     all the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
     location verification system. You shall pay all or part of the cost of the program based upon your ability to
     pay as determined by the pretrial services office or supervising officer.
      ( ) (i) Curfew. You are restricted to your residence every day ( ) from                     to           or
                  ( ) as directed by the pretrial services office or supervising officer; or
      ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment;
                  education; religious services; medical, substance abuse, or mental health treatment; attorney
                  visits; court appearances; court-ordered obligations; or other activities as pre-approved by
                  the pretrial services office or supervising officer; or
      ( )   (iii) Home Incarceration. You are restricted to your residence at all times except for medical
                  needs or treatment, religious services, and court appearances or other activities pre-approved
                  by the pretrial services office or supervising officer.

( ) Defendant is subject to the following computer/internet restrictions which may include manual
       inspection and/or the installation of computer monitoring software as deemed appropriate by
       Pretrial Services;
      ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                  -




                    connected devices.
      ( ) (ii) Computer No Internet Access: defendant is permitted use of computers or connected
                             -




                    devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                    Servers, Instant Messaging, etc);
      ( )    (iii) Computer     With Internet Access: defendant is permitted use of computers or connected
                   devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers,
                   Instant Messaging, etc.) for purposes pre-approved by Pretrial Services at
                   [ ] home [ I for employment purposes.
      ( )    (iv)  Consent of Other Residents -by consent of other residents in the home, any computers in
                   the home utilized by other residents shall be approved by Pretrial Services, password
                   protected by a third party custodian approved by Pretrial Services, and subject to inspection
                   for compliance by Pretrial Services.

(ther:                                         qi               v
( ) Other:

( 3 Other:

                                                                                                                Page2of3
               Case 3:12-cr-00795-MAS         Document 22        Filed 09/14/12      Page 3 of 3 PageID: 78
                                     ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
              Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant
for your arrest. a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt
of court and could result in imprisonment, a fine, or both.
           While on release, if you commit a federal felony offense the punishment is an additional prison term of not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year.
This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
           It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
           Ifi after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:
               (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
                    — you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
               (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you
                                                                                                                        —




                    will be fined not more than $250,000 or imprisoned for not more than five years, or both;
               (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years, or
                                     —




                    both;
               (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or
                                    —




                    both.
               A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence
you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                            Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.




                                                                     7L        dYJ
                                                                       City and State

                                         Directions to the United States Marshal
  (‘ ) The defendant is ORDERED released after processing.
  (     ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
          that the defendant has posted bond and/or complied with all other conditions for release, If still in custody, the
          defendant must be produced before the appropriate judge at the time and place specified.

 Date:                        -                                                         .



                                                                        Judicij à[ficer ‘s Signature
                                                                          )outs E. Arpert, U.S.M.J.
                                                                         Printed name and title
 (REV. I’09)                                                                                                       PAGE30F3
